                   Case 1:24-mj-00380-MJS                  Document 1        Filed 12/11/24           Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia
                 United St.at.es of America                         )
                               V.                                   )
                                                                    )      Case No.
                  Daniel Dustin Deneui
                                                                    )
                    DOB:XXXXXX                                      )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of __________ in the
                         in the Distiict of       Columbia      , the defendant(s) violated:
            Code Section                                                     Offense Description
        18 U.S.C. § 111(a)(1) (Assaulting, Resisting, or Impeding Certain Officers);
        18 U.S.C. § 231(a)(3) (Obstruction of Law Enforcement During Civil Disorder);
        18 U.S.C. §§ 1361 and 2 (Destruction of Government Property);
        18 U.S.C. § 1752(a)(1) and (b)(1)(A) (Entering and Remaining in a Restricted Building or Grounds with a
        Deadly or Dangerous Weapon);
        18 U.S.C. § 1752(a)(2) and (b)(1)(A) (Disorderly and Disruptive Conduct in a Restricted Building or Grounds
        with a Deadly or Dangerous Weapon);
        18 U.S.C. § 1752(a)(4) (Engaging in Physical Violence in a Restricted Building or Grounds);
        40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building);
        40 U.S.C. § 5104(e)(2)(F) (Act of Physical Violence in the Capitol Grounds or Buildings).
         This c1iminal complaint. is based on these
  facts: See attached statement of facts.


         N Continued on the attached sheet.


                                                                                               Complainant's signature




Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.

Date:            12/11/2024
                                                                                                 Judge's signature

City and state:                         Washington, D.C.                     Matthew J. Sharbaugh, U.S. Magistrate Judge
                                                                                               Printed name and title
